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                      UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                (Alexandria Division)


                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
       v.                                          )      Case No. 1:20-cr-00010-LO
                                                   )
CHARLES O’NEIL                                     )
                                                   )
                      Defendant.                   )
                                                   )

                                   ENTRY OF APPEARANCE

       Please take notice that Steven J. McCool, Esquire, hereby enters his appearance for the

defendant, Charles O’Neil, in the above-captioned case.

                                            Respectfully submitted,



                                                /s/ Steven J. McCool, Esq.
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                                            Counsel for Charles O’Neil




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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of January 2020, the foregoing Entry of

Appearance was served upon counsel of record by CM/ECF electronic filing.



                                              /s/ Steven J. McCool, Esq.
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